Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 1 of 50 Page ID
                                  #:15309
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 2 of 50 Page ID
                                  #:15310
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 3 of 50 Page ID
                                  #:15311
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 4 of 50 Page ID
                                  #:15312
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 5 of 50 Page ID
                                  #:15313
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 6 of 50 Page ID
                                  #:15314
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 7 of 50 Page ID
                                  #:15315
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 8 of 50 Page ID
                                  #:15316
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 9 of 50 Page ID
                                  #:15317
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 10 of 50 Page ID
                                  #:15318
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 11 of 50 Page ID
                                  #:15319
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 12 of 50 Page ID
                                  #:15320
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 13 of 50 Page ID
                                  #:15321
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 14 of 50 Page ID
                                  #:15322
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 15 of 50 Page ID
                                  #:15323
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 16 of 50 Page ID
                                  #:15324
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 17 of 50 Page ID
                                  #:15325
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 18 of 50 Page ID
                                  #:15326
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 19 of 50 Page ID
                                  #:15327
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 20 of 50 Page ID
                                  #:15328
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 21 of 50 Page ID
                                  #:15329
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 22 of 50 Page ID
                                  #:15330
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 23 of 50 Page ID
                                  #:15331
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 24 of 50 Page ID
                                  #:15332
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 25 of 50 Page ID
                                  #:15333
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 26 of 50 Page ID
                                  #:15334
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 27 of 50 Page ID
                                  #:15335
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 28 of 50 Page ID
                                  #:15336
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 29 of 50 Page ID
                                  #:15337
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 30 of 50 Page ID
                                  #:15338
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 31 of 50 Page ID
                                  #:15339
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 32 of 50 Page ID
                                  #:15340
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 33 of 50 Page ID
                                  #:15341
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 34 of 50 Page ID
                                  #:15342
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 35 of 50 Page ID
                                  #:15343
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 36 of 50 Page ID
                                  #:15344
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 37 of 50 Page ID
                                  #:15345
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 38 of 50 Page ID
                                  #:15346
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 39 of 50 Page ID
                                  #:15347
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 40 of 50 Page ID
                                  #:15348
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 41 of 50 Page ID
                                  #:15349
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 42 of 50 Page ID
                                  #:15350
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 43 of 50 Page ID
                                  #:15351
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 44 of 50 Page ID
                                  #:15352
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 45 of 50 Page ID
                                  #:15353
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 46 of 50 Page ID
                                  #:15354
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 47 of 50 Page ID
                                  #:15355
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 48 of 50 Page ID
                                  #:15356
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 49 of 50 Page ID
                                  #:15357
Case 2:04-cv-09049-DOC-RNB Document 1423-11 Filed 12/31/07 Page 50 of 50 Page ID
                                  #:15358
